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                                                February 6, 2023

VIA CM/ECF

Lyle W. Cayce, Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
Office Of the Clerk
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

      RE:    Louisiana v. Centers for Disease Control & Prevention, No. 22-30303 (5th Cir.)

Dear Mr. Cayce:

      This letter is in response to the Court’s order of January 30, 2023, directing the

parties to address the impact of Huisha-Huisha v. Mayorkas, No. 22-5325 (D.C. Cir.).

      This case and Huisha-Huisha are interrelated and each has the potential to moot

the other. But the appeal in this case was fully briefed before the appeal in Huisha-

Huisha was filed. Accordingly, the government has previously asked the D.C. Circuit

to hold Huisha-Huisha in abeyance pending the appeal in this case and did not request

abeyance in this case pending Huisha-Huisha.

      Regardless of whether abeyance is warranted pending the outcome in Huisha-

Huisha, abeyance is now warranted in this case on independent grounds. The

government recently announced that the Secretary of the Department of Health and
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Human Services (HHS) plans to extend his declaration of a public health emergency

for COVID-19 only to May 11, 2023, after which the declaration is planned to expire.

If that occurs, this case will become moot on May 11, 2023, because the currently

operative Title 42 order states that it automatically ends upon the expiration of that

declaration, 86 Fed. Reg. 42,828, 42,830 (Aug. 5, 2021). Abeyance would thus

conserve this Court’s resources and obviate the need to decide the questions

presented, including constitutional questions and important questions regarding the

Administrative Procedure Act (APA).

               Background regarding Huisha-Huisha v. Mayorkas

      1. Huisha-Huisha v. Mayorkas, No. 22-5325 (D.C. Cir.), concerns challenges

brought by a class of family units to both the rule at 42 C.F.R. § 71.40 that establishes

the process for CDC’s issuance of subregulatory orders under 42 U.S.C. § 265

(referred to as “Title 42 orders”), and the Title 42 orders issued thereunder that have

suspended the right of introduction for certain noncitizens due to public health risks

arising from COVID-19. Those plaintiffs contend that CDC’s Title 42 orders and

underlying rule are unlawful and arbitrary and capricious under the APA. See Huisha-

Huisha v. Mayorkas, No. 21-cv-100 (D.D.C.).

      In 2021, the district court granted a preliminary injunction barring enforcement

of Title 42 orders against the plaintiff class on the ground that CDC’s statutory

authority in 42 U.S.C. § 265 does not authorize expulsions. See Huisha-Huisha v.

Mayorkas, 560 F. Supp. 3d 146 (D.D.C. 2021). The government appealed, and the
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D.C. Circuit granted a stay of that preliminary injunction pending appeal. The D.C.

Circuit subsequently reversed in part, holding that the Title 42 statute likely does

authorize expulsions, but that other statutes likely preclude the government from

expelling noncitizens to countries where they will be tortured or persecuted. See

Huisha-Huisha v. Mayorkas, 27 F.4th 718 (D.C. Cir. 2022).

      2. Shortly after that D.C. Circuit decision, CDC issued the April 2022

termination order that is the subject of the appeal before this Court. That termination

order found that suspension of the right of introduction for certain noncitizens was

no longer required in the interest of public health because of the current state of the

pandemic and the availability of less drastic mitigation measures. The order therefore

terminated all prior Title 42 orders that suspended the right of introduction for certain

noncitizens, with an effective date in May 2022. A group of States brought several

claims in this suit in the Western District of Louisiana. The district court granted a

preliminary injunction barring enforcement of the termination in May 2022 based

solely on the claim that CDC was likely required to undergo notice-and-comment

rulemaking to issue such a termination. The government appealed to this Court. See

Government Opening Br. 9-16.

      3. Meanwhile, on remand from the D.C. Circuit, the Huisha-Huisha plaintiffs

moved for partial summary judgment on their claims that CDC’s Title 42 orders and

underlying rule were arbitrary and capricious under the APA, and in particular that

CDC’s decision to issue a new Title 42 order in August 2021 had been arbitrary. The
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Huisha-Huisha plaintiffs claimed that they needed relief because the Western District

of Louisiana’s preliminary injunction against the termination order in this case caused

“the August 2021 CDC Order … [to] remain[] in effect” and thousands of “Class

Members [to be] expelled.” Plaintiffs’ Motion for Partial Summary Judgment at 9-10,

No. 21-cv-100 (D.D.C. Aug. 15, 2022), Dkt. 144-1. The government opposed on

numerous grounds, including that CDC’s orders were reasonable at the time they

were issued, that the “government is actively pursuing its appeal of the preliminary

injunction in the U.S. Court of Appeals for the Fifth Circuit,” and that the plaintiff

class action should not “short-circuit the separate appellate process in the Fifth

Circuit.” Defendants’ Opposition to Plaintiffs’ Motion for Partial Summary Judgment

at 9-11, 45, No. 21-cv-100 (D.D.C. Aug. 31, 2022), Dkt. 147. In a surreply, the

government also argued that a vacatur order was inappropriate at that stage of the

case. See Defendants’ Surreply in Opposition to Plaintiffs’ Motion for Partial

Summary Judgment, No. 21-cv-100 (D.D.C. Sept. 22, 2022), Dkt. 157-1.

      4. On November 15, 2022, the district court for the District of Columbia

issued an order vacating nationwide all prior Title 42 orders and the underlying rule at

42 C.F.R. § 71.40 as arbitrary and capricious. Huisha-Huisha v. Mayorkas, No. 21-cv-

100, 2022 WL 16948610, at *16 (D.D.C. Nov. 15, 2022). The court also enjoined the

government from applying any Title 42 order to the plaintiff class of family units. Id.

Faced with the prospect of an abrupt end to the Title 42 orders without an orderly

transition, the government sought a temporary stay of the district court’s order for
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five weeks, until December 21, 2022, to allow a “transition period” that “is critical to

ensuring that” the Department of Homeland Security “can … conduct its border

operations in an orderly fashion.” Unopposed Emergency Motion for Temporary

Stay at 3, No. 21-cv-100 (D.D.C. Nov. 15, 2022), Dkt. 166. The government did not

move for an emergency stay pending appeal because, as explained in CDC’s

termination order, CDC had already determined that continued application of its Title

42 order was no longer necessary to protect the public health. The Huisha-Huisha

plaintiffs did not oppose the government’s request for a five-week stay. The district

court granted the temporary stay only with “great reluctance.” See Minute Order, No.

21-cv-100 (D.D.C. Nov. 16, 2022) (capitalization altered). The government thereafter

filed a notice of appeal on December 7, 2022.

      5. Meanwhile, some of the State plaintiffs in this case moved to intervene in

the Huisha-Huisha district court and moved for a stay of the Huisha-Huisha judgment.

The district court denied the stay and deferred consideration of the States’

intervention motion. The States then sought to intervene in the court of appeals. In

a unanimous order, the D.C. Circuit denied the States’ intervention request based on

“the inordinate and unexplained untimeliness of the States’ motion.” Order at 2, No.

22-5325 (D.C. Cir. Dec. 16, 2022).

      The States thereafter sought certiorari in the Supreme Court and applied for a

stay of the Huisha-Huisha judgment pending certiorari. The Supreme Court granted a

stay that “precludes giving effect to the District Court order setting aside and vacating
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the Title 42 policy,” but “does not prevent the federal government from taking any

action with respect to that policy.” Arizona v. Mayorkas, 143 S. Ct. 478, 478 (2022).

The Supreme Court also granted certiorari limited to the question “[w]hether the State

applicants may intervene.” Id. Briefing in the Supreme Court will be complete in

February 2023 and argument is scheduled to be held on March 1, 2023.

         6. The government subsequently asked the D.C. Circuit to hold the Huisha-

Huisha appeal in abeyance pending the government’s appeal in this Court, the

Supreme Court’s decision regarding the States’ intervention motion, and a new

rulemaking that CDC plans to undertake to reconsider the process for issuing Title 42

orders. See Motion to Hold Case in Abeyance, No. 22-5325 (D.C. Cir. Jan. 9, 2023).

The Huisha-Huisha plaintiffs opposed abeyance pending the rulemaking and this

Court’s decision in this case, but not pending the Supreme Court’s decision. The

D.C. Circuit ordered the appeal to be held in abeyance pending the Supreme Court’s

disposition of Arizona v. Mayorkas and directed the parties to file motions to govern

further proceedings after that disposition. Order, No. 22-5325 (D.C. Cir. Jan. 20,

2023).




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                                        Discussion

       1. This case and Huisha-Huisha are interrelated, and each can moot the other.

If the Huisha-Huisha district court’s judgment becomes final following appellate

proceedings, then all Title 42 orders will be vacated. That would clearly moot the

States’ challenge to CDC’s termination of those same orders in this case.

       This appeal also has the potential to moot the Huisha-Huisha case. If this Court

vacates the district court’s preliminary injunction barring enforcement of CDC’s April

2022 termination because CDC properly ended those emergency orders without

notice and comment, the Huisha-Huisha case could become moot, depending on

whether the district court in this case subsequently enjoins the termination order on a

different ground and the outcome of any subsequent appeal. Given that potential

effect, as well as the fact that this appeal was filed earlier and was already fully briefed,

the government asked the D.C. Circuit to hold Huisha-Huisha in abeyance pending this

Court’s review; but the D.C. Circuit so far has granted abeyance only pending the

Supreme Court’s decision as to whether the States may intervene.

       2. Regardless of whether the pendency of Huisha-Huisha warrants abeyance,

however, this Court should hold this appeal in abeyance because the government

recently announced that the Secretary of Health and Human Services plans to extend

his declaration of a public health emergency for COVID-19 only to May 11, 2023,

after which the declaration is planned to expire. Expiration of that declaration would

result in the automatic termination of the currently operative Title 42 order and moot
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this litigation. See 86 Fed. Reg. at 42,830; Trump v. International Refugee Assistance, 138 S.

Ct. 353, 353 (2017).

       The Secretary’s declaration of a public health emergency is authorized under 42

U.S.C. § 247d. Such a declaration has a variety of legal consequences. On January 30,

2023, in response to a pending bill that would immediately terminate both the public

health emergency and a separate COVID-19 national emergency declared by the

President, the Office of Management and Budget (OMB) issued a statement opposing

such an immediate termination but announcing that “[a]t present, the

Administration’s plan is to extend the emergency declarations to May 11, and then

end both emergencies on that date.” OMB, Statement of Administration Policy 1 (Jan. 30,

2023), https://www.whitehouse.gov/wp-content/uploads/2023/01/SAP-H.R.-382-

H.J.-Res.-7.pdf.

       By its terms, the Title 42 order that is currently in effect due to the district

court’s injunction will terminate upon “the expiration of the Secretary of HHS’

declaration that COVID-19 constitutes a public health emergency.” 86 Fed. Reg. at

42,830. If the public health emergency declaration expires on May 11, 2023, the Title

42 order will have “expired by its own terms,” and this suit challenging CDC’s

termination of the order will “no longer present[] a ‘live case or controversy’” as of

that date. International Refugee Assistance, 138 S. Ct. at 353 (quoting Burke v. Barnes, 479

U.S. 361, 363 (1987)). The anticipated end of the public health emergency on May 11

would therefore moot the case absent further developments, at which point vacatur of
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the district court decision would be appropriate under United States v. Munsingwear, Inc.,

340 U.S. 36, 39 (1950).

      Abeyance is warranted in light of the foregoing considerations as well as the

interplay of the pending litigation and the recent developments. Oral argument

before the Supreme Court is scheduled for March 1, and delaying this Court’s

adjudication would give time for the Supreme Court to take account of the recent

developments. Abeyance would also conserve this Court’s resources and may

eliminate the need to decide the questions presented in this case, including

constitutional questions and potentially far-reaching questions regarding application of

the good-cause and foreign-affairs exceptions to notice-and-comment rulemaking

when an agency terminates an emergency order that requires cooperation of foreign

governments to operate.


                                         Respectfully Submitted,

                                         s/ Joshua Dos Santos
                                         Joshua Dos Santos
                                         U.S. Department of Justice
                                         Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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